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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )      CRIMINAL NO. 21-CR-177(CRC)
                                               )
                                               )
DANIEL D. EGTVEDT                              )

MOTION TO ALLOW MR. EGTVEDT TO TRAVEL TO MEET WITH HIS COUNSEL

       The Defendant, Daniel Egtvedt, by his counsel, Kira Anne West, hereby respectfully asks

the Court to allow Mr. Egtvedt to travel to Virginia to meet with his attorneys on October 26 and 27,

2022, in the above case and in support states the following:


       This Court will hear this case in a bench trial on December 5, 2022. As such, pretrial

preparation is underway. According to an email sent by pretrial services, undersigned counsel is

required to ask the Court’s permission for Mr. Egtvedt to travel to Virginia, to meet with his lawyers

and to spend the night.


       Undersigned counsel respectfully requests that Mr. Egtvedt be allowed to travel to Virginia

October 25 through October 27 2022, for an overnight stay of two nights because his residence, as

the Court knows, is 3 hours at least from Washington, D.C.


                                               Respectfully submitted,

                                               KIRA ANNE WEST

                                       By:              /s/
                                               Kira Anne West
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                                  CERTIFICATE OF SERVICE

         I hereby certify on the 21st day of October, 2022 a copy of same was delivered to the

parties of record, via ECF, pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                          /S/
                                                     Kira Anne West
